            I N T H E DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:10 CR 66-7


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                   ORDER
                                       )
BRANDON DION LEDBETTER.                )
                                       )
______________________________________ )

      THIS CAUSE coming on to be heard and being heard before the undersigned

at the close of a Rule 11 proceeding that was held before this court on March 3, 2011.

It appearing to the court at the call of this matter on for hearing the defendant was

present with his attorney, Steven T. Meier and the government was present and

represented through Assistant United States Attorney Don Gast. From the arguments

of counsel for the defendant and the arguments of the Assistant United States Attorney

and the records in this cause, the court makes the following findings:

      Findings.    On October 5, 2010 a bill of indictment was issued charging the

defendant with conspiracy to traffic in cocaine base, commonly known as crack

cocaine, in violation of 21 U.S.C. § 841(a)(1)and 846.       On March 3, 2011, the

undersigned held and inquiry, pursuant to Rule 11 of the Federal Rules of Criminal

Procedure and accepted a plea of guilty of the defendant to that charge. At the end of

the Rule 11 proceeding, this court presented the issue of whether or not the defendant

should now be detained, pursuant to 18 U.S.C. § 3143(a)(2).



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      Discussion.     18 U.S.C. § 3143(a)(2) provides as follows:

      (2) The judicial officer shall order that a person who has been found
      guilty of an offense in a case described in subparagraph (A), (B), or (C)
      of subsection (f)(1) of section 3142 and is awaiting imposition or
      execution of sentence be detained unless ----

            (A)(i) the judicial officer finds there is a substantial likelihood that
      a motion for acquittal or new trial will be granted; or

             (ii) an attorney for the Government has recommended that no
             sentence of imprisonment be imposed on the person; or

             (B) the judicial officer finds by clear and convincing evidence that
             the person is not likely to flee or pose a danger to any other person
             or the community.

      From an examination of the records in this cause, it appears the defendant has

now entered a plea of guilty on March 3, 2011 to conspiracy to violate 21 U.S.C. §

841(a)(1). That crime is one of the crimes that is referenced under 18 U.S.C. §

3142(f)(1)(C). The undersigned made an inquiry of Assistant United States Attorney

Don Gast as to whether or not there was going to be a recommendation that no

sentence of imprisonment be imposed upon the defendant. Mr. Gast advised the court

that such a recommendation could not be made in this matter. As a result of the plea

of guilty of defendant, the undersigned cannot find there is a substantial likelihood

that a motion for acquittal or new trial will be granted. As a result of the statements

of Mr. Gast, the undersigned cannot find there will be a recommendation that no

sentence of imprisonment be imposed upon defendant. It would thus appear, and the

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court is of the opinion that the court is required to apply the factors as set forth under

18 U.S.C. § 3143(a)(2) which require the detention of defendant.



                                        ORDER

      IT IS, THEREFORE, ORDERED, that the terms and conditions of pretrial

release in this matter are hereby REVOKED and it is ORDERED the defendant be

detained pending further proceedings in this matter.



                                            Signed: March 7, 2011




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